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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                            Plaintiff,
                                                 Civil Action File No.
                       v.                        1:17-CV-2873-JSA

KEYSTONE CAPITAL PARTNERS, INC.
d/b/a FEDERAL EMPLOYEE BENEFIT
COUNSELORS, CHRISTOPHER S. LAWS,
JONATHAN DAX COOKE, DANNY S.
HOOD, and BRANDON P. LONG,

                            Defendants.

   FINAL JUDGMENT AS TO DEFENDANT JONATHAN DAX COOKE

      Defendant Jonathan Dax Cooke (“Defendant” or “Cooke”), having (a) been

found by a jury to have violated, and aided and abetted violations of, Section 17(a)

of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77q(a)], Section 10(b)

of the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and

Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], and aided and abetted

violations of Section 17(a) of the Exchange Act [15 U.S.C. § 78q(a)] and Rule 17a-

4(b)(4) promulgated thereunder [17 C.F.R. § 240.17a-4(b)(4)] [Dkt. No. 181], (b)

consented to entry of this Final Judgment; and (c) waived any right to appeal from
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this Final Judgment:


                                          I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities

Act in the offer or sale of any security by the use of any means or instruments of

transportation or communication in interstate commerce or by use of the mails,

directly or indirectly

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to obtain money or property by means of any untrue statement of a

      material fact or any omission of a material fact necessary in order to make the

      statements made, in light of the circumstances under which they were made,

      not misleading; or

      (c)    to engage in any transaction, practice, or course of business which

      operates or would operate as a fraud or deceit upon the purchaser;

by, directly or indirectly: (i) creating a false appearance or otherwise deceiving any

person about the price or costs or trading market for any security, or (ii) making any

false or misleading statement, or disseminating any false or misleading documents,

materials, or information, concerning matters relating to a decision by an investor or

prospective investor to buy or sell securities of any company.
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      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                         II.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, Section

10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, by using any

means or instrumentality of interstate commerce, or of the mails, or of any facility

of any national securities exchange, in connection with the purchase or sale of any

security:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)    to engage in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person;


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by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any

person about the price or costs or trading market for any security, or (ii) making any

false or misleading statement, or disseminating any false or misleading documents,

materials, or information, concerning matters relating to a decision by an investor or

prospective investor to buy or sell securities of any company.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                         III.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from aiding and abetting any

violation of Section 17(a) of the Exchange Act and Rule 17a-4(b)(4) thereunder by

knowingly or recklessly providing substantial assistance to any exchange member,

broker and dealer in failing to preserve for a period not less than three years the

originals of all communications received and copies of all communications sent (and

any approvals thereof) by the member, broker or dealer (including inter-office

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memoranda and communications) relating to its business as such, including all

communications which are subject to rules of a self-regulatory organization of which

the member, broker or dealer is a member regarding communications with the

public. As used in this paragraph (b)(4), the term communications includes sales

scripts.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant or

with anyone described in (a).

                                         IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant

to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section 20(e)

of the Securities Act [15 U.S.C. § 77t(e)], Defendant is prohibited from acting as an

officer or director of any issuer that has a class of securities registered pursuant to

Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is required to file reports

pursuant to Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)].




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                                         V.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is liable for disgorgement and prejudgment interest of $396,409,

representing profits gained as a result of the conduct alleged in the Complaint, and

a civil penalty in the amount of $103,591 pursuant to Section 20(d)(3) of the

Securities Act [15 U.S.C. § 77t(d)(3)] and Section 21(d)(3) of the Exchange Act [15

U.S.C. § 78u(d)(3)]. Defendant shall satisfy this obligation by paying the following

amounts to the Securities and Exchange Commission (‘the Commission”) in

installment payments according to the following schedule: (1) $250,000 within 10

days after entry of this Final Judgment; and (2) $250,000 within one year after entry

of the Final Judgment. Payments shall be deemed made on the date they are received

by the Commission and shall be applied first to any post judgment interest and then

shall be allocated evenly between the penalty and disgorgement amounts ordered in

this Final Judgment. Prior to making the final payment set forth herein, Cooke shall

contact the staff of the Commission for the amount due for the final payment.

       If Cooke fails to make any payment by the date agreed and/or in the amount

agreed according to the schedule set forth above, all outstanding payments under this

Final Judgment, minus any payments made, shall become due and payable

immediately at the discretion of the staff of the Commission, without further

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application to the Court, and post judgment interest shall accrue on such amount

pursuant to 28 U.S.C. § 1961.

      Defendant may transmit payment electronically to the Commission, which

will provide detailed ACH transfer/Fedwire instructions upon request.       Payment

may also be made directly from a bank account via Pay.gov through the SEC website

at http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified

check, bank cashier’s check, or United States postal money order payable to the

Securities and Exchange Commission, which shall be delivered or mailed to

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; Jonathan Dax Cooke as a defendant in this action; and

specifying that payment is made pursuant to this Final Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of payment

and case identifying information to the Commission’s counsel in this action. By

making this payment, Defendant relinquishes all legal and equitable right, title, and

interest in such funds and no part of the funds shall be returned to Defendant.

      The Commission may enforce the Court’s judgment for disgorgement by

moving for civil contempt (and/or through other collection procedures authorized by
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law) at any time after 30 days following the date a payment is due pursuant to this

Final Judgment, but that payment is not received by the Commission.

      The Commission may enforce the Court’s judgment for penalties by the use

of all collection procedures authorized by law, including the Federal Debt Collection

Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the

violation of any Court orders issued in this action. The Commission shall hold the

funds, together with any interest and income earned thereon (collectively, the

“Fund”), pending further order of the Court.

      The Commission may propose a plan to distribute the Fund subject to the

Court’s approval. Such a plan may provide that the Fund shall be distributed

pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of

2002. The Court shall retain jurisdiction over the administration of any distribution

of the Fund. If the Commission staff determines that the Fund will not be distributed,

the Commission shall send the funds paid pursuant to this Final Judgment to the

United States Treasury.

      Regardless of whether any such Fair Fund distribution is made, amounts

ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

penalties paid to the government for all purposes, including all tax purposes. To

preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

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reduction of any award of compensatory damages in any Related Investor Action

based on Defendant’s payment of disgorgement in this action, argue that he is

entitled to, nor shall he further benefit by, offset or reduction of such compensatory

damages award by the amount of any part of Defendant’s payment of a civil penalty

in this action (“Penalty Offset”). If the court in any Related Investor Action grants

such a Penalty Offset, Defendant shall, within 30 days after entry of a final order

granting the Penalty Offset, notify the Commission’s counsel in this action and pay

the amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as

the Commission directs. Such a payment shall not be deemed an additional civil

penalty and shall not be deemed to change the amount of the civil penalty imposed

in this Judgment. For purposes of this paragraph, a “Related Investor Action” means

a private damages action brought against Defendant by or on behalf of one or more

investors based on substantially the same facts as alleged in the Complaint in this

action.

                                         VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and agreements

set forth therein.

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                                         VII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the debt

for disgorgement and civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement

agreement entered in connection with this proceeding, is a debt for the violation by

Defendant of the federal securities laws or any regulation or order issued under such

laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.

§523(a)(19).

                                         VIII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of this

Final Judgment.

                                          IX.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ORDERED to enter this Final Judgment

forthwith and without further notice.

      IT IS SO ORDERED this 19th day of August, 2022.


                                        __________________________________
                                        JUSTIN S. ANAND
                                        UNITED STATES MAGISTRATE JUDGE
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